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AO 215H (Rev. 12/03)(VAED rev. 2) Sheet 1- Judgment in a Criminal Case



                                          UNITED STATES DISTRICT COURT
                                                     Eastern District of Virginia
                                                               Norfolk Division



UNITED STATES OF AMERICA
                     v.                                                   Case Number:      2:14CR00088-002

SHEILA CLARK LEWIS                                                        USM Number:       51133-083
                                                                          Defendant's Attorney:      Harry D. Harmon, Jr.
Defendant.


                                            JUDGMENT IN A CRIMINAL CASE

    The defendant pleaded guilty to Counts 1 and 13 of the Indictment.
    Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.


Title and Section               Nature of Offense                          Offense Class       Offense Ended                Count


18U.S.C. 1349                   Conspiracy                                 Felony              In or About September 2013   I

18 U.S.C. 1028A(a)(l)           Aggravated Identity Theft                  Felony              September 15,2013            13


    On motion of the United States, the remaining counts in the indictment to which the defendant has not pled guilty are
hereby dismissed.

    As pronounced on December 8, 2014, the defendant is sentenced as provided in pages 2 through 6 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.

    Signed this             IL           day of December, 2014.




                                                                                     G.
                                                                             Senior FJni*       es
                                                                                                     District Judge-
                                                                         Robert G. Doumar
                                                                         Senior United States District Judge
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         Sheet 2 • Imprisonment

Case Number:                 2:14CR00088-002
Defendant's Name:            LEWIS, SHEILA CLARK


                                                              IMPRISONMENT

   The defendant is herebycommittedto the custody of the United States Bureau of Prisons to be imprisoned for a
term of SIXTY-FIVE (65) MONTHS. This term of imprisonment consists of a term of FORTY-ONE (41) MONTHS on
Count 1 and a term of TWENTY-FOUR (24) MONTHS on Count 13, all to be served consecutively.

These terms are to be served consecutively to any other sentence, including the state sentences imposed by the Suffolk
Circuit Court in the case of Commonwealth v. Lewis, under docket numbers CR08000567-01 and CR08000568-01. In
addition, this sentence is consecutive to any other sentence imposed in this Court, including the sentence to be imposed at
a supervised release violation hearing before Judge Allen. This supervision, from a prior case in the Western District of
North Carolina, was transferred to this court. All of these sentences are to be consecutive.

The Court makes the following recommendations to the Bureau of Prisons:
     1) The defendantshall participate in a program for mental health treatment. The defendant shall waive all rights of
        confidentiality regarding mental healthtreatment in order to allow the releaseof information to the United States
       Probation Office and or to the Bureau of Prisons and authorize communication between the probation officer, the
       Bureau of Prisons and the treatment provider.
    2) That the United States Marshal to take into consideration her mental status when she is incarcerated by the federal
       system as this sentence is to run consecutive to any sentence imposed by the State of Virginia.
    3) That the defendant be housed in an institution as close as reasonably possible to the Tidewater Virginia area.

The defendant is remanded to the custody of the United States Marshal.




                                                                RETURN
I have executed this judgment as follows:

Defendant delivered on                                               to
at                                                                , with a certified copy of this Judgment.




                                                                 UNITED STATES MARSHAL



                                                     By
                                                                 DEPUTY UNITED STATES MARSHAL
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         Sheet 3 - Supervised Release

Case Number:                  2:l4CR00088-002
Defendant's Name:             LEWIS, SHEILA CLARK


                                                    SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be on supervised release for a term of FOUR (4) YEARS. This
term consists of a term of THREE (3) YEARS on Count 1 and a term of ONE (1) YEAR on Count 13, to run
consecutively.

     The Probation Officeshall provide the defendant witha copy of the standard conditions and any special conditions of
supervised release.
     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
     The defendant shall not commit another federal, state or local crime.
   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.
   The defendant shall notpossess a firearm, ammunition, destructive device, or anyother dangerous weapon.
     If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay
any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties
sheet of this judgment.

                                   STANDARD CONDITIONS OF SUPERVISION
The defendant shall comply with the standard conditions that have been adopted bythis court set forth below:
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
       first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
       probation officer;
4) the defendant shall support his or herdependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
       training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
   administer any narcotic or other controlled substance or any paraphernalia related to such substances, except as
       prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
       administered;
9)  the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
    person convicted of a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
       enforcement officer;
 12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement
       agency without the permission of the court;
 13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
     defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
       notifications and to confirm the defendant's compliance with such notification requirement.
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         Sheet 3A - Supervised Release

Case Number:                  2-.14CR00088-002
Defendant's Name:             LEWIS, SHEILA CLARK


                                    SPECIAL CONDITIONS OF SUPERVISION

While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional
special conditions:


1. As reflected in the presentence report, the defendant presents a low risk of future substance abuse, and therefore, the
court hereby suspends the mandatory condition for substance abusetesting as defined by 18U.S.C. 3563(a)(5). However,
this does not preclude the probation office from administering drug tests as they may deem appropriate.

2. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritances, judgments, and
any anticipated or unexpected financial gains, to the outstanding court-ordered financial obligation, or in a lesser amount
to be determined by the court, upon the recommendation of the probation officer.

3. The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer.

4. The defendant shall provide the probation officer access to any requested financial information.
5. The defendant shall participate in a program approved by the United States Probation Office for financial counseling.
The cost of this program is to be paid partially by the defendant all as may be directed by the probation officer.

6. The defendant shall participate in a program approved by the United States Probation Office for mental health
treatment. The cost of this program is to be paid partially by the defendant all as directed by the probation officer.
7. The defendant shall waive all rights of confidentiality regarding mental health treatment in orderto allow the release of
information to the United States Probation Office and or to the Bureau of Prisons and authorize communication between
the probation officer, the Bureau of Prisons and the treatment provider.
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         Sheet S - Criminal Monetary Penalties

Case Number:                  2:14CR00088-002
Defendant's Name:             LEWIS, SHEILA CLARK



                                               CRIMINAL MONETARY PENALTIES
The defendant must pay thetotal criminal monetary penalties under the Schedule of Payments on Sheet 6.


                                       Count                   Assessment          Fine               Restitution
                                           1                     $100.00         $0.00               $99,875.97

                                          13                     $100.00         $0.00                     $0.00

TOTALS:                                                          $200.00         $0.00               $99,875.97


                                                                FINES
No fines have been imposed in this case.

                                                  RESTITUTION
The defendant must make restitution to the following payees in the amount listed below.

Citi Security and Investigative Services                                        $86,101.81
Attention: Victoria Yeager
14700 Citicorp Drive
Building 2, 1st Floor, MC 5205
Hagerstown, MD 21742

Kohl's CSOC                                                                      $7,706.67
Attention: Donna Hansen
N54 W13600 Woodale Drive
Menomonee Falls, WI 53051

Fraud Department (NTELOS)                                                        $4,088.02
Attention: Sheila Halterman
1154 Shenandoah Village Drive
Waynesboro, VA 22980

JC Penney Restitution                                                             $979.47
Synchrony Bank
P.O. Box 105969
Atlanta, GA 30353

AT&T Risk Management                                                             $1,000.00
909 Chestnut Street Room 39-N-13
St. Louis, MO 63101

Total                                                                           $99,875.97



The defendant is jointly and severally liable for restitution with the following co-defendant/co-conspirator: SHAVIKA V.
THOMPSON (2:14cr88-001) pending in this court.
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         Sheet 6 - Schedule of Payments

Case Number:                  2:l4CR00088-002
Defendant's Name:             LEWIS, SHEILA CLARK


                                                SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:
The special assessment and restitution shall be due in full immediately.

Any balance remaining unpaid on the special assessment and restitution at the inception of supervision, shall be paid by
the defendant in installments of not less than $100.00 per month, until paid in full. Said payments shall commence 60
days after the defendant's supervision begins.

At the time of supervision commences, the probation officer shall take into consideration the defendant's economic status
as it pertains to his ability to pay the special assessment and restitution ordered and shall notify the court of any changes
that may be needed to be made to the payment schedule.

Any special assessment and restitution payments may besubject to penalties for default and delinquency.

Since this judgment imposes a period of imprisonment, payment of criminal monetary penalties, including the special
assessment and restitution, shall be due during the period of imprisonment. All criminal monetary penalty payments,
including the special assessment and restitution, are to be made to the Clerk, United States District Court, except those
payments made through the Bureau of Prisons' Inmate Financial Responsibility Program.

Each restitution payment shall be divided proportionately among the payees named.

SEE Consent Order of Forfeiture entered and filed in open court December 8,2014.

SEE Restitution Order entered and filed in open court December 8, 2014.


The defendant shall receivecredit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment (2) restitution principal (3) restitution interest (4) fine
principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court
costs.

Nothing in the court's order shall prohibit the collection of anyjudgment, fine, or special assessment by the United States.
